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                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF LOUISIANA

JEREMY S. JONES (#365876)
                                                        CIVIL ACTION
VERSUS
                                                        NO.   19-841-JWD-RLB
ANNE MARIE LEBLANC EASLEY
                                        OPINION

       After independently reviewing the entire record in this case and for the reasons set

forth in the Magistrate Judge's Report (Doc.22) dated September 21, 2020, to which an

objection was filed (Doc. 23);

       IT IS ORDERED that Motion to Re-Urge the Declaration for Entry of Default (R.

Doc. 19.) is DENIED.

       Signed in Baton Rouge, Louisiana, on September 25, 2020.

                                              S
                                     JUDGE JOHN W. deGRAVELLES
                                     UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF LOUISIANA
